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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DIVISION OF GEORGIA
                          ATLANTA DIVISION

 Rowena Cason, Plaintiff                    :
                                            :
 v.                                         :               Civil Action File No.
                                            :              2:21-cv-00164-RWS-JCF
                                                            ____________________
 Wal-Mart Stores East, LP                   :
 and Wal-Mart,                              :
 Defendants.                                :


                                      Complaint

      Plaintiff files this suit against the above-named Defendants by alleging the

following.

                                Claims and Jurisdiction

1.    This is an employment discrimination lawsuit brought under Title VII of the

Civil Rights Act of 1964, 42 U.S.C. §§ 200e et seq., for employment

discrimination on the basis of race, color, religion, sex, or national origin, or

retaliation for exercising rights under this statute.

2.    This Court has subject matter jurisdiction over this matter under 28 U.S.C.

§§ 1331 and 1343 and supplemental jurisdiction over all state law claims pursuant

to 28 U.S.C. § 1367(a). Resolving all claims in a single action serves the interests

of judicial economy, convenience, consistency, and fairness to the parties.

3.    Venue is proper in this Court.
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                                       Parties

4.    Plaintiff, Rowena Cason is a resident of Kingsland, Camden County,

Georgia.

5.    Upon information and belief, Defendants are Delaware entities with 15 or

more employees. According to the corporate filings with the Georgia Secretary of

State, Defendants' principal office is located at 708 SW 8th Street, Bentonville,

Arkansas 72716. They may be served by and through their registered agent, The

Corporation Company, 106 Colony Park Drive, Suite 800-B, Cumming, Forsyth

County, Georgia 30040-2794.

                                 Location and Time

6.    The discriminatory conduct occurred at the place of business of Defendants',

the Wal-Mart store located at 6586 GA-40E, St. Mary's, Camden County, Georgia

31558.

7.    To the best of Plaintiff's knowledge and current memory, the conduct

occurred from approximately June 22, 2020 through July 13, 2020.

                       Exhaustion of Administrative Remedy

8.    On January 7, 2021, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC), Savannah Office, 7391 Hodgson



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Memoria Drive, Suite 200, Savannah, Georgia 31406-2579. A copy of the charge

is attached hereto as Exhibit A.

9.     Plaintiff received a Notice of Right to Sue letter from the EEOC via online

portal on May 4, 2021. A screen shot of the window reflecting date of filing is

attached as Exhibit B. A copy of the letter is attached hereto as Exhibit C.

10.    This Complaint is filed within 90-days of receipt of the Notice of Right to

Sue.

                                   Nature of the Case

11.    The conduct complained of in this lawsuit involves harassment.

12.    Defendants discriminated against Plaintiff because of her sex.

13.    At all times relevant, Plaintiff was employed by Defendants as an assistant

manager at the Wal-Mart store located at 6586 GA-40E, St. Mary's, Camden

County, Georgia 31558

14.    At all times relevant, Plaintiff was under the supervision of a male employee

of Defendants who was acting within the course and scope of his employment with

Defendants.

15.    On June 22, 2020, Plaintiff's supervisor forced himself upon her in a sexual

manner while the two were alone in a walk-in refrigerator. The conduct was a



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sexual assault and sexual battery of Plaintiff by her supervisor. Plaintiff was able to

free herself from the situation and escape the cooler.

16.   After the assault and battery, Ms. Cason made a complaint to Defendants'

store management. She that her supervisor be fired and that Defendants

accommodate her requests not to work with him at the store. Defendants ignored

her requests.

17.   Instead of taking any steps to terminate, punish, or otherwise reprimand

Plaintiff's supervisor, Defendants reduced Plaintiff's working hours at the store.

18.   On July 13, 2020, Defendants fired Plaintiff in retaliation for her repeated

requests for accommodation and for some sort of reprimand for the supervisor who

attacked her.

19.   Plaintiff no longer works for the Defendants.

20.   Defendants never paid Plaintiff the last paycheck she is owed.

 Claim for Relief No. 1: Sex Based Discrimination in Violation of Title VII of the

                         1964 Civil Rights Act, as amended

21.   Plaintiff incorporates all previous averments.

22.   U.S.C. § 2000e-2(a) provides, "[i]t shall be an unlawful employment

practice for an employer— (1) to fail or refuse to hire or to discharge any

individual, or otherwise to discriminate against any individual with respect to his

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compensation, terms, conditions, or privileges of employment, because of such

individual’s [. . .] sex [. . .] or (2) to limit, segregate, or classify his employees or

applicants for employment in any way which would deprive or tend to deprive any

individual of employment opportunities or otherwise adversely affect his status as

an employee, because of such individual’s [. . .] sex."

23.    Harassment on the basis of sex is a violation of section 703 of title VII.

Unwelcome sexual advances, requests for sexual favors, and other verbal or

physical conduct of a sexual nature constitute sexual harassment when (1)

submission to such conduct is made either explicitly or implicitly a term or

condition of an individual's employment, (2) submission to or rejection of such

conduct by an individual is used as the basis for employment decisions affecting

such individual, or (3) such conduct has the purpose or effect of unreasonably

interfering with an individual's work performance or creating an intimidating,

hostile, or offensive working environment. 29 C.F.R. § 1604.11(a)

24.    Plaintiff is a woman, and women are protected from discrimination because

of their status as women.

25.    Defendants' employee subjected Plaintiff to unwelcome sexual harassment.

26.    The sexual harassment was based upon Plaintiff's sex.



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27.   The sexual harassment was severe and pervasive enough to alter the terms

and conditions of Plaintiff's employment and created a discriminatorily abusive

work environment.

28.   Defendants had actual notice that Plaintiff was the victim of sexual

harassment and failed to take any action to correct their employee's sexually

harassing behavior or to reprimand their employee for sexually assaulting and

sexually battering Plaintiff.

29.   Plaintiff's submission to the sexual harassment was made either explicitly or

implicitly a term or condition of an individual's employment.

30.   Plaintiff's submission to or rejection of such conduct by an individual is used

as the basis for employment decisions affecting Plaintiff.

31.   The sexual harassment had the effect of unreasonably interfering with

Plaintiff's work performance and created an intimidating, hostile, and offensive

working environment.

32.   The sexual harassment has caused Plaintiff to incur economic damages

which are ongoing in an amount to be proven by the evidence at trial.

33.   The sexual harassment has caused Plaintiff to incur general damages for pain

and suffering which are ongoing in an amount to be proven by the evidence at trial.



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34.   Plaintiff seeks compensatory and all other relief available to her according to

the law.

  Claim for Relief No. 2: Punitive Damages Pursuant to 42 U.S.C. § 1981a(b)(1)

35.   Plaintiff incorporates all previous averments.

36.   Defendants' actions and omissions were intentional, willful, malicious, and

done with reckless disregard for Plaintiff's right to be free from discrimination

based on her sex.

37.   The Defendants' failure to take any steps to stop open, obvious, continuous,

and pervasive sexual harassment or to punish Plaintiff's supervisor shows they

were engaging in discriminatory practices with malice or with reckless indifference

to the federally protected rights of Plaintiff.

38.   Defendants are liable for punitive damages.

 Claim for Relief No. 3: Attorney fees and Expenses of Litigation Pursuant to 42

                                  U.S.C. § 2000e-5(k)

39.   Plaintiff incorporates all previous averments.

40.   A prevailing Plaintiff in a Title VII action is entitled to recover reasonable

attorney fees and expenses as part of the costs for bringing the lawsuit.

41.   Plaintiff is entitled to her attorney fees and expenses related to bringing this

lawsuit.

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Wherefore Plaintiff prays

      A.     That summons and process issue and Defendants be served;

      B.     That this Court find for Plaintiff on all claims;

      C.     For a jury trial on all matters so triable;

      D.     For judgment against Defendants for compensatory damages;

      E.     For judgment against Defendants for punitive damages;

      F.     For judgment against Defendants for reasonable attorney fees and

expenses of litigation;

      G.     That all costs be charged to Defendants; and

      H.     Such other relief this Court deems appropriate.

This 27th day of July, 2021.

                                               /s/ J. Wickliffe Cauthorn
                                               J. Wickliffe Cauthorn
                                               Georgia Bar No. 907911
                                               Attorney for Plaintiff

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                                       :                 ____________________
Wal-Mart Stores East, LP               :
and Wal-Mart,                          :
Defendants.                            :


               Certificate of Compliance with Local Rule 7.1(D)

     The undersigned hereby certifies that the foregoing was prepared using 14-

point Times New Roman typeface as approved by Local Rule 5.1B.

     This 27th day of July, 2021.

                                           /s/ J. Wickliffe Cauthorn
                                           J. Wickliffe Cauthorn
                                           Georgia Bar No. 907911
                                           Attorney for Plaintiff

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